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                         United States District Court
                          Western District of Texas
                              Austin Division

United States of America,

 Plaintiff,
         v.
Greg Abbott, in his capacity as                    No. 1:23-cv-00853-DII
Governor of the State of Texas, and
the State of Texas,

   Defendants.


               Defendants’ Notice of
        Motion to Consolidate in Related Case




                      EXHIBIT A
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                           United States District Court
                            Western District of Texas
                                Austin Division
 EPI’S CANOE & KAYAK TEAM, LLC
 AND JESSIE FUENTES,


   Plaintiffs,
                                                     No. 1:23-cv-00836-DII
      v.
 State of Texas, et al.,

   Defendants.

                 Texas’s Motion to Consolidate
     There is a dire humanitarian crisis at the Texas–Mexico border endangering

Texans and migrants alike. Unprecedented levels of illegal border crossings have

created severe risks of human trafficking, black-market fentanyl distribution, cartel

violence, and the loss of life across border communities. To reduce these risks by

redirecting migrants to ports of entry at bridges, Texas deployed a string of buoys

that span less than 1,000 feet of the more than 1,250 miles that the Rio Grande runs

along the border.

     Those buoys are now the subject of two separate lawsuits, each seeking to have

the buoys pulled from the river. First was this lawsuit, filed on July 7, 2023, and

removed to this Court on July 21, 2023. See ECF No. 1-2 at 2–23; ECF No. 1. Second

was the United States’ lawsuit, filed on July 24, 2023, in this Court. See United States

v. Abbott, No. 1:23-cv-853 (W.D. Tex. July 24, 2023); Ex. A (United States’

Complaint). Texas respectfully asks this Court to consolidate the two cases.

     The facts and legal issues overlap extensively. Both challenge the lawfulness of

deploying the buoys. See ECF No. 1-2 at 2–23; Ex. A. Indeed, the United States filed

“in the Western District of Texas, Austin Division, because … a related case”—this
case—“is pending there,” which also asserts “that the floating barrier in the Rio


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Grande … is unlawful” and also seeks “an injunction to restrain [Texas] from

installing the floating barrier.” See Ex. A at ¶ 7 (emphasis added).

                                     Background

     On March 6, 2021, Governor Abbott and the Texas Department of Public

Safety launched Operation Lone Star (OLS) “to combat the smuggling of people

and drugs into Texas.”1 As part of OLS, Governor Abbott announced in early June

2023 that Texas would deploy buoys in the Rio Grande beginning with the first

1,000 feet near Eagle Pass to “deter illegal crossings in hotspots” and “proactively

prevent illegal crossings between ports of entry by making it more difficult to cross

the Rio Grande and reach the Texas side of the southern border.”2

     On July 7, 2023, Epi’s Canoe and Kayak Team, LLC and Jessie F. Fuentes

(collectively, “Epi Plaintiffs”) challenged Texas’s deployment of buoys in the Rio

Grande by filing this suit in the 98th Judicial District Court of Travis County

against: the State of Texas; Greg Abbott in his official capacity as Governor of Texas

and Commander-in-Chief of the Texas Military Department; Steve McCraw in his

official capacity as Director/Colonel of the Texas Department of Public Safety; the

Texas Department of Public Safety; Major General Thomas Suelzer in his official

capacity as Adjutant General of the Texas Military Department; and the Texas
Military Department (collectively, “Texas”). ECF No. 1-2 at 2–23. Because of the




1   Press Release, Governor Abbott, DPS Launch “Operation Lone Star” To Address
    Crisis at Southern Border, OFFICE OF THE TEXAS GOVERNOR (March 6, 2021),
    https://gov.texas.gov/news/post/governor-abbott-dps-launch-operation-lone-star-to-
    address-crisis-at-southern-border.
2   Press Release, Governor Abbott Signs Sweeping Package of Border Security
    Legislation, OFFICE OF THE TEXAS GOVERNOR ( June 8, 2023),
    https://gov.texas.gov/news/post/governor-abbott-signs-sweeping-package-of-border-
    security-legislation.

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federal nature of Epi Plaintiffs’ suit, Texas removed this case to this Court on July

21, 2023. ECF No. 1.

     Epi Plaintiffs claim that Texas has violated the Texas Disaster Act of 1975, the

Texas Administrative Procedure Act, and Article I, § 3a of the Texas Constitution.

ECF No. 6-1 at ¶ 1. Epi Plaintiffs also claim that Texas’s deployment of buoys

conflicts with federal law and is unlawful because Texas does “not have jurisdiction

to enforce Texas law at the international boundary within the Rio Grande,” as such

actions “are preempted by federal law.” ECF No. 6-1 at ¶ 2, 105; see also ECF No.

6-1 at ¶ 86 (claiming that Texas “does not have the power to stop unlawful

immigration at the Texas–Mexico border because that power resides exclusively

with the United States Government”).

     Specifically, Epi Plaintiffs claim that Texas lacks the authority to place buoys

in the Rio Grande because the international waters or boundaries at issue are

“exclusively governed” by the U.S.–Mexico Water Treaty of 1944 and within the

“exclusive jurisdiction” of the International Boundary and Water Commission

(IBWC), ECF No. 6-1 at ¶¶ 88–90, and preempted by “§ 403 of the Navigable

Rivers Act”—a reference to Section 10 of the Rivers and Harbors Act of 1899, 33

U.S.C. § 403. ECF No. 6-1 at ¶ 32. Epi Plaintiffs allege that this “federal law
preempts Texas law,” and makes Texas’s challenged actions ultra vires. ECF No. 6-

1 at ¶ 38.

     On July 24, 2023, the United States sued over the buoys in the Rio Grande too.

See Ex. A. Like Epi Plaintiffs, the United States sued Governor Abbott and the State

of Texas in the Austin Division of the Western District of Texas. Like Epi Plaintiffs,

the United States challenges the deployment of buoys as outside Texas’s legal

authority under federal law, arguing Texas violated Section 10 of the Rivers and

Harbors Act by deploying buoys without authorization from the U.S. Army Corps
of Engineers. See Ex. A. at ¶ 1–4. And like Epi Plaintiffs, the United States seeks to
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enjoin Texas from deploying any more buoys and to require Texas to remove the

already-deployed ones. See Ex. A. at ¶ 4.

                                    Argument

     This Court should consolidate United States v. Abbott, No. 1:23-cv-853 (W.D.

Tex. July 24, 2023), with this case, Epi’s Canoe & Kayak Team, LLC, No. 1:23-cv-

836 (W.D. Tex. July 21, 2023). “If actions before the court involve a common

question of law or fact, the court may: (1) join for hearing or trial any or all matters

at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to

avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a). Although consolidation is

discretionary, the Fifth Circuit has long “urged” district judges “to make good use

of Rule 42(a) in order to expedite trial and eliminate unnecessary repetition and

confusion.” In re Air Crash Disaster at Fla. Everglades on Dec. 29, 1972, 549 F.2d

1006, 1013 (5th Cir. 1977) (cleaned up) (quoting Gentry v. Smith, 487 F.2d 571, 581

(5th Cir. 1973)).

     As explained below, see infra Section I.C, these two cases involve many

“common question[s] of law [and] fact.” Fed. R. Civ. P. 42(a). As a result,

consolidation would undoubtedly expedite matters as well as “eliminate

unnecessary repetition and confusion” between potentially dueling preliminary-
injunction motions.

I.   Under the five-factor test courts generally use, consolidation is in order.

     To help determine if consolidation is appropriate, courts generally examine

five factors: “(1) whether the actions are pending in the same court; (2) whether

there are common parties; (3) whether there are common questions of law or fact;

(4) whether there is risk of prejudice or confusion versus a risk of inconsistent

adjudications if the cases are tried separately; and (5) whether consolidation will
promote judicial economy.” Casillas v. McDonough, No. SA-22-cv-00959-JKP, 2023
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WL 4356689, at *1 (W.D. Tex. June 30, 2023) (citing Frazier v. Garrison I.S.D., 980

F.2d 1514, 1531 (5th Cir. 1993) and Parker v. Hyperdynamics Corp., 126 F. Supp. 3d

830, 835 (S.D. Tex. 2015)).

     Each factor weighs heavily in favor of consolidation. Accordingly, this Court

should consolidate these two cases.

     A. The two cases are pending in the same court.

     The first factor weighs in favor consolidation because the cases are pending in

the same court—the Western District of Texas. Indeed, both cases are currently

pending in the same division of this Court: Austin. This means that consolidation

here poses no threat of inconvenience to any of the plaintiffs and this first factor is

satisfied. Texas v. United States, No. 6:21-cv-16, 2021 WL 3171958, at *2 (S.D. Tex.

July 26, 2021) (“Courts have interpreted ‘same court’ as the same district.”) (citing

Wharton v. U.S. Dep’t of Hous. & Urban Dev., No. 2:19-cv-300, 2020 WL 6749943,

at *2 (S.D. Tex. Mar. 3, 2020)).

     B.   The two cases involve substantially similar parties.

     The second factor also weighs in favor of consolidation because the cases

involve substantially similar parties. As party overlap increases, so too do the

efficiencies gained through consolidation. See, e.g., Samataro v. Keller Williams
Realty, Inc., No. 1:21-cv-76, 2021 WL 3596303, at *2–3 (W.D. Tex. Apr. 27, 2021)

(noting common parties and ordering consolidation); Raymond v. Invest Props.,

L.L.C., No. 5:20-cv-965, 2021 WL 725819, at *2–3 (W.D. Tex. Feb. 17, 2021)

(same); cf. Brown v. Fort Hood Fam. Hous. L.P., No. 5:20-cv-704, 2020 WL 10758046,

at *2 (W.D. Tex. Sept. 25, 2020) (noting no common parties and denying

consolidation). That is why this factor favors consolidation when the cases involve

the same defendants. See Wharton, 2020 WL 6749943 at *2 (finding “the second
factor satisfied because both cases involve the same four defendants”).

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     Here, both cases name Greg Abbott in his official capacity as Governor and the

State of Texas as defendants. The only difference is that this case also names other

individuals as additional defendants: Steve McCraw in his official capacity as

Director/Colonel of the Texas Department of Public Safety; the Texas Department

of Public Safety; Major General Thomas Suelzer in his official capacity as Adjutant

General of the Texas Military Department; and the Texas Military Department. But

they are all part of the State of Texas.

     To be sure, one case has the United States as a plaintiff, and the other involves

a company and an individual as plaintiffs. But while nominally different, both sets

of plaintiffs are quite similar in substance. They challenge the same actions (i.e., the

placement of the buoys), allege similar harms (i.e., limited use of the river due to the

buoys), and seek the same remedies (i.e., removal of the buoys).

     C. The two cases involve common legal and factual issues.

     The third factor weighs in favor of consolidation because the two cases present

common legal and factual issues. As with the second factor, the efficiency gained by

consolidation increases as the overlap of such issues increases. This is so because,

where substantially similar cases are not consolidated, discovery and motion

practice are “likely to be highly duplicative, which risks unnecessary costs and
delay.” Dryshod Int’l, L.L.C., Haas Outdoors, Inc., No. 1:18-cv-596, 2019 WL

5149860, at *2 (W.D. Tex. Jan. 18, 2019); see also Samataro, 2021 WL 3596303, at *3.

As explained above, both cases challenge Texas’s deployment of buoys as contrary

to federal law. Any minor differences with respect to the phrasing of their respective

causes of action do not override the substantial similarity between the facts and legal

issues in both lawsuits. What is of overriding importance is that the core issues are

the same.




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     D. Consolidation of the two cases poses no risk of confusion and would
        avoid risk of prejudice from inconsistent adjudications.

     The fourth factor weighs in favor of consolidation. This asks the Court to weigh

the risk of confusion if the cases are consolidated against the risk and prejudice of

inconsistent adjudications if they are not. On the one hand, if there is a jury, it may

improperly blend the issues in a consolidated case. On the other, the same issue may

be inconsistently decided in unconsolidated cases. See, e.g., Yeti Coolers, LLC v.

Beavertail Prod., LLC, No. 1-15-cv-415, 2015 WL 4759297, at *2 (W.D. Tex. Aug.

12, 2015) (Pitman, J.); Lay v. Spectrum Clubs, Inc., No. 5:12-cv-754, 2013 WL

788080, at *2–3 (W.D. Tex. Mar. 1, 2013).

     This factor weighs in favor of consolidation for two reasons. First, inconsistent

adjudications would be especially prejudicial in these circumstances. The legality of

Texas’s actions is the quintessential type of issue that “call[s] for a uniform result,”

and resolution of that question will not be aided by multiple decisions. Yeti Coolers,

2015 WL 4759297, at *1 (quoting Int’l Fid. Ins. Co. v. Sweet Little Mexico Corp., 665

F.3d 671, 678 (5th Cir. 2011)). The common issues presented by these two cases

have only one answer: Texas’s actions are either valid, or they are not. The issues

presented in these cases demand uniform resolution, and consolidation will help

ensure that uniformity. The risk of prejudice in the event of inconsistent
adjudications is thus high.

     Second, consolidation poses no risk of confusion or prejudice to the

plaintiffs—this Court will ensure there is no improper blending of the issues. And

to the extent consolidation would pose any procedural confusion, it would be greatly

outweighed by the parties’ interest in reaching a consistent judgment.

     E.   Consolidation will conserve judicial resources.

     The fifth and final factor—whether consolidation will conserve resources and
promote judicial economy—weighs in favor of consolidation because these cases

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involve the same legal and factual issues and will, therefore, proceed along the same

procedural path.

     Consolidation promotes judicial economy where the related cases will draw

from the same witnesses or other sources of discovery, involve similar legal briefing,

turn on similar issues of fact or law, or are otherwise able to efficiently proceed

together. See Frazier, 980 F.2d at 1532; Dryshod, 2019 WL 5149860, at *2; RTIC

Drinkware, L.L.C. v. YETI Coolers, L.L.C., No. 1:16-cv-907, 2017 WL 5244173, at *3

(W.D. Tex. Jan. 18, 2017); Lay, 2013 WL 788080, at *3.

     As explained above, each of these cases will determine whether Texas’s

deployment of the buoys is contrary to federal law. Those legal issues can and should

be decided together. Further, if the cases proceed to discovery, the parties can avoid

duplication and will no doubt rely on much the same evidence in subsequent motion

practice or at trial. In short, all pertinent considerations indicate that these cases

should be combined, and that consolidation will result in significant conservation of

judicial resources.

     F.   Both cases are at an early stage.

     Some courts also consider whether the cases are at similar stages of

development, and this additional factor weighs in favor of consolidation here.
Courts find it efficient to consolidate cases that are both newly filed, or both ready

for trial. Likewise, it is inefficient to consolidate cases that are at starkly different

stages in the litigation process. See, e.g., RTIC Drinkware, L.L.C., 2017 WL 5244173,

at *3; Lay, 2013 WL 788080, at *3.

     Here, both cases challenging Texas’s deployment of buoys are at a very early

stage—indeed, the cases were filed within mere days of each other. Neither case has

involved an initial conference, nor have the parties in any of these cases conducted




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any discovery yet. Thus, consolidation at this early point in time is appropriate and

does not pose any logistical concerns.

                                      *     *    *

     The pertinent considerations overwhelmingly favor consolidation. Most

importantly, both cases involve similar legal issues and facts; the legal issues must

be decided uniformly; and consolidation will ensure there are no inconsistent

adjudications. Both cases are also before the same court, involve substantially

similar parties, and are at a very early stage. Further, consolidation poses no risk of

confusion and will greatly conserve judicial resources. For these reasons, the proper

course is for the Court to consolidate both cases here.

II. Under the first-to-file rule, this Court decides the issue of consolidation.

     Finally, Texas acknowledges that this Court transferred United States v. Abbott

to Judge Ezra—still within the Austin Division. See Aug. 8, 2023, Order, United

States v. Abbott, No. 1:23-cv-853 (W.D. Tex.) (Pitman, J.), at ECF No. 12. Texas

takes no position on whether the consolidated cases should ultimately remain before

Judge Pitman or be subsequently transferred to Judge Ezra. Setting that aside, this

Court is the proper court to decide the issue of consolidation.

     Under the first-to-file rule, the court in which the last-filed case is pending
“may refuse to hear” the second-filed case. See Yeti Coolers, LLC v. Beavertail

Prods., LLC, No. 1-15-cv-415, 2015 WL 4759297, at *1 (W.D. Tex. Aug. 12, 2015)

(Pitman, J.). If indeed the two cases share a “substantial overlap,” “the proper

course of action is for the second-filed court to transfer the case to the first-filed

court.” Id. at *2 (cleaned up). “It is then the responsibility of the first-filed court to

decide whether the second suit filed must be dismissed, stayed, or transferred and

consolidated.” Id. (cleaned up) (quoting Sutter Corp. v. P & P Indus., Inc., 125 F.3d
914, 917 (5th Cir. 1997)).

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     For the first-to-file rule to apply, the lawsuits do not have to be “identical,” but

rather need only “overlap on the substantive issues.” Mann Mfg. Inc. v. Hortex, Inc.,

439 F.2d 403, 408 (5th Cir. 1971). As explained above, see supra Section I.C, these

two cases share substantial overlap of questions of law and fact. And this case, Epi’s

Canoe, was first filed. Compare ECF No. 1-2 at 2–23 (complaint filed July 7, 2023),

and ECF No. 1 (removal filed July 21), with United States v. Abbott, No. 1:23-cv-853

(W.D. Tex. July 24, 2023). See also Dryshod Int’l, LLC v. Haas Outdoors, Inc., No.

1:18-CV-596-RP, 2019 WL 5149860, at *2 (W.D. Tex. Jan. 18, 2019) (Pitman, J.)

(“[I]n the context of state court cases removed to federal court, the relevant date

for purposes of the first-to-file rule is the date the case was originally filed in state

court, not the date the case was removed to federal court.”).

     The first-to-file rule “establishes which court may decide whether the second

suit filed must be … consolidated.” Sutter, 125 F.3d at 917. And therefore, it is this

Court that must decide the question of consolidation.

                                   Conclusion

     For the foregoing reasons, Texas respectfully requests that this Court

consolidate United States v. Abbott, No. 1:23-cv-853 (W.D. Tex. July 24, 2023), into

this action.




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Date: August 2, 2023                              Respectfully submitted,
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                       Certificate of Conference

     I certify that on August 2, 2023, counsel for Defendants conferred with counsel
for Plaintiffs in the present case, who indicated that they do not object to this
Motion. On this same day, counsel for Defendants also conferred with counsel for
the plaintiff in United States v. Abbott, et al., No. 1:23-cv-00853 (W.D. Tex.), who
expressed this position: “The United States is opposed. The cases are bought
pursuant to wholly distinct legal authorities (state and federal law, respectively), and
thus raise distinct issues. To the extent there is factual overlap, the United States
further notes that the court may coordinate between related cases as necessary
without consolidating them.”
                                               /s/ David Bryant



                       Certificate of Service
   On August 2, 2023, this document was filed electronically through the Court’s
CM/ECF system, which automatically serves all counsel of record.
                                               /S/ David Bryant




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